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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
     V.                                    ) CASE NO: 1:21-CR-00382
                                           )
CHRISTOPHER WARNAGIRIS,                    )
                                           )
              DEFENDANT.                   )
__________________________________________)


           NOTICE OF SUPPLEMENTAL AUTHORITY
———————————————————————————————————————


       An opinion from this District was issued this week on what type of conduct is

criminalized under 18 U.S.C. § 111(a), one of the legal issues raised in the defendant’s Motion to

Dismiss, ECF No. 43, which he immediately submits for this Court’s consideration.

       On January 16, 2023, about a month after Defendant filed his Motion to Dismiss, ECF

No. 43, a defendant in a concurrent prosecution in the District of Columbia filed a motion

making similar arguments, seeking to dismiss a Section 111(a) count in his indictment. See

United States v. Cua, Case 1:21-cr-00107-RDM, Dkt. 269 (D.D.C. January 16, 2023).

       On February 22, 2023, Judge Moss issued a written opinion in that matter, in preparation

for a bench trial scheduled for defendant Cua on February 24, 2023. United States v. Cua, Case

1:21-cr-00107-RDM, Dkt. 288 (D.D.C. February 22, 2023). In it, Judge Moss opines that:

       The penalties clause [of 18 U.S.C. § 111(a)], thus, creates three categories of violations:
       (1) acts in violation of the statute that “constitute only simple assault” (the “simple-
       assault provision”); (2) acts in violation of the statute the “involve physical contact with
       the victim of that assault” (the “physical-contact provision”); and (3) acts in violation of



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       the statute that “involve . . . the intent to commit another felony” (the “other-felony
       provision”)…

       The Court agrees with Cua that the first two provisions require an assault…

       The other-felony provision, in contrast, makes no mention of an assault… Giving this
       language its ordinary meaning, then, a defendant can violate the other-felony prong of §
       111(a) by, for example, forcibly “interfer[ing] with” a designated person who is engaged
       in the performance of her official duties, if “such” interference involves “the intent to
       commit another felony.”

       …

       The Court … concludes… that the phrase “such acts” refers to the verbs listed in the
       introductory clause of § 111(a)—“Whoever . . . forcibly assaults, resists, opposes,
       impedes, intimidates, or interferes with . . . .” Two textual clues point decidedly in favor
       of this reading, and against Cua’s reading, of the statute. First, the reference to “such
       acts” in the final clause of § 111(a) parallels the reference to “acts in violation of this
       section” in the preceding clause. Thus, read as a whole, the statute treats violations of §
       111(a) as a misdemeanor “where the acts in violation of this section constitute only
       simple assault,” and as a felony “where such acts involve physical contact with the victim
       of that assault or the intent to commit another felony.” 18 U.S.C. § 111(a) (emphasis
       added). There is no question that the statutory reference to “the acts in violation of this
       section” refers to the verbs listed in the introductory clause—“assaults, resists, opposes,
       impedes, intimidates, or interferes with”—and the parallel structure of the penalties
       provisions leaves no doubt that “such acts” refers to the same litany of unlawful conduct.
       See, e.g., United States v. Briley, 770 F.3d 267, 273 (4th Cir. 2014) (noting that the felony
       provision’s “such acts” language refers back to the original list of acts enumerated in §
       111(a)(1)).

Id.

       The defense respectfully disagrees with Judge Moss’ view of the “other-felony” provision

of 18 U.S.C. § 111(a) not requiring an assault, but agrees with his finding that “the first two

provisions require an assault,” for reasons previously stated in ECF No. 30, ECF No. 33, and

pursuant to United States v. Wolfname, 835 F.3d 1214 (10th Cir. 2016).

       Curiously, Judge Moss’ opinion makes no reference to the case most relied upon by Mr.

Warnagiris, United States v. Wolfname.


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       Judge Moss, instead, concentrates on the predecessor to Wolfname, United States v.

Hathaway, 318 F.3d 1001 (10th Cir. 2003). See United States v. Cua, Case 1:21-cr-00107-RDM,

Dkt. 288, pp 19-23 (D.D.C. February 22, 2023).

       In United States v. Wolfname, the 10th Circuit specifically addressed the change in the

wording of § 111(a) after Hathaway, the same wording that Judge Moss is concerned with his

decision—

       Essentially, Congress amended § 111(a) to replace the phrase "in all other cases" with a
       slightly modified version of the definition we gave that phrase in Hathaway. Compare
       Hathaway, 318 F.3d at 1008-09 (defining "all other cases" to include "any assault that
       involves actual physical contact or the intent to commit" certain felonies), with Court
       Security Improvement Act of 2007, Pub. L. No. 110-177, 121 Stat 2534 ("striking `in all
       other cases' and inserting `where such acts involve physical contact with the victim of
       that assault or the intent to commit another felony'").

       In short, the 2008 amendment didn't controvert our holding in Hathaway; instead, it
       effectively codified it. Thus, Hathaway remains good law. And under Hathaway, assault is
       an element of any § 111(a)(1) offense.

       …

       The circuits may be split on the meaning of § 111. But they're not split on the meaning of
       Hathaway. That opinion, as the Ninth Circuit has pointed out, "leaves no room for a [§
       111(a)] conviction that does not involve at least some form of assault." Chapman, 528
       F.3d at 1219. Accord Green, 543 Fed.Appx. at 272 n.9; Davis, 690 F.3d at 135. Moreover,
       our analysis in Hathaway appears not only to have survived the 2008 amendment to §
       111(a), but perhaps to have inspired it. See 153 Cong. Rec. S15789-01 (daily ed.
       December 17, 2007) (statement of Sen. Kyl) (indicating that 2008 amendment
       "codif[ied]" Hathaway's "thoughtful explanation" regarding meaning of phrase "in all
       other cases").

Wolfname, 835 F.3d at 1220-23.

In Footnote 3, Wolfname continues—

       … circuits are also split on the meaning of the 2008 amendment itself. Compare Davis,
       690 F.3d at 136 (concluding that amendment itself demonstrates Congress' intent to
       require proof of assaultive conduct), with Williams, 602 F.3d at 317 (concluding that


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       amendment "supports the conclusion that § 111(a)(1) prohibits more than assault, simple
       or otherwise"); see also United States v. Gagnon, 553 F.3d 1021, 1025 n.4 (6th Cir. 2009)
       (stating that 2008 "amendment does little to clarify ... whether § 111 is limited only to
       assaults or includes all the actions spelled out in § 111(a)"). We decline to rely on this
       circuit split as persuasive evidence that the error in this case isn't plain for two reasons.
       First, both the Sixth Circuit in Gagnon and the Fifth Circuit in Williams were writing on a
       clean slate; neither had to take Hathaway's analysis into account in interpreting the 2008
       amendment. Second, in discussing the amendment, both the Sixth Circuit in Gagnon and
       the Fifth Circuit in Williams elided Congress' use of the phrase "involve[s] physical
       contact with the victim of that assault." Court Security Improvement Act of 2007, Pub. L.
       No. 110-177, 121 Stat 2534 (emphasis added). In fact, the Gagnon court went so far as to
       replace that phrase with ellipses in quoting the amended version of the statute. 533 F.3d at
       1025 n.4. Because this phrase unambiguously expresses that assault is an element of
       every felony § 111(a) conviction…

Wolfname, 835 F.3d at 1222, n.3.

       Section 111(a) is one long sentence consisting of 127 words, separated into four main

sections. The sentence structure and wordiness of the code have created significant confusion

and circuit splits. Section 111(a) provides:

       (a) In General.—Whoever—

       (1) forcibly assaults, resists, opposes, impedes, intimidates, or interferes with any person
       designated in section 1114 of this title while engaged in or on account of the performance
       of official duties; or

       (2) forcibly assaults or intimidates any person who formerly served as a person
       designated in section 1114 on account of the performance of official duties during such
       person’s term of service,

       shall, where the acts in violation of this section constitute only simple assault, be fined
       under this title or imprisoned not more than one year, or both, and where such acts
       involve physical contact with the victim of that assault or the intent to commit another
       felony, be fined under this title or imprisoned not more than 8 years, or both.

       It is near settled that a misdemeanor violation of § 111(a) requires proof of an assault. But

the portion of § 111(a) that describes a felony offense also requires an assault for the offense, be

it whether “such acts involve physical contact with the victim of that assault” or “the intent to


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commit another felony” during that assault. The words “of that assault” extend to both ways in

which one can be found guilty of a felony offense under § 111(a). If the assaultive requirement

was not meant to extend to the portion of the sentence referencing “intent to commit another

felony,” the phrase would have been separated by a comma.

       Compare the law —

               shall, where the acts in violation of this section constitute only simple assault, be
               fined under this title or imprisoned not more than one year, or both, and where
               such acts involve physical contact with the victim of that assault or the intent to
               commit another felony, be fined under this title or imprisoned not more than 8
               years, or both.

       With a version that has a comma—

               shall, where the acts in violation of this section constitute only simple assault, be
               fined under this title or imprisoned not more than one year, or both, and where
               such acts involve physical contact with the victim of that assault, or the intent to
               commit another felony, be fined under this title or imprisoned not more than 8
               years, or both.

       (Even with a comma, it’s unclear that “such acts” refer to the list of verbs found two

subsections prior and how they modify the terms “the intent to commit another felony.”)

       Judge Moss’ interpretation appears to conflict with the Rule of the Last Antecedent. See

Barnhart v. Thomas, 540 U.S. 20, 26 (2003); Lockhart v. United States, 136 S.Ct. 958, 963

(2016) (“The rule reflects the basic intuition that when a modifier appears at the end of a list, it is

easier to apply that modifier only to the item directly before it.”). The penalty clause of § 111(a)

lists the ways in which a defendant can be penalized, stating that, “where the acts in violation of

this section constitute only simple assault, be fined under this title or imprisoned not more than

one year, or both, and where such acts involve physical contact with the victim of that

assault or the intent to commit another felony, be fined under this title or imprisoned not more

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than 8 years, or both.” Judge Moss reads the meaning of “such acts” as a list of terms found 89

words prior, instead of as referenced in the clause in which the term is located. In the clause

where the penalty is found, the words “the acts” is defined as conduct that constitutes an

“assault.” Judge Moss’ interpretation makes “it a heavy lift,” as Judge Sotomayor characterized

in Lockhart, an 89-word lift, in this case. See 136 S.Ct. at 963.

       If the words “the intent to commit another felony” were separated by a comma from the

“victim of that assault,” then a stronger argument could be made that they reference conduct

independent of the acts which constitute an assault. But there is no comma. The plain reading of

the sentence combines the “such acts” that constitute “that assault” with “intent to commit

another felony” into the offense penalized as a felony.

       Accordingly, the supplemental authority is presented to the court for consideration, with

notation of some agreement and some disagreement from the defense.



                                              Respectfully submitted,

                                              By Counsel:

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                         CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on February 23, 2023, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
service will be accomplished by the CM/ECF system.

                                                    /s/
                                              Marina Medvin, Esq.




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